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Region   Child Name           Date of Incident             Location




 11                              1/7/2023




                                                                                       Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 08A                            1/31/2023




 08A                            1/31/2023




                                                 402                                   Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 08A                            1/27/2023




 08A                            1/30/2023




                                                 403                                   Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 08A                            1/31/2023




                                                 404                                   Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  9                             1/27/2023




 11                             1/31/2023




                                                 405                                   Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 08A                            1/20/2023




 08A                            1/29/2023




 08A                            1/22/2023




                                                 406                                   Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident                   Location


                                                  Fairfield Hotel Marriott (Hotel) - 88 NE
 08A                            1/24/2023
                                                         Loop 410, San Antonio, TX




                                                 407                                         Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03W                            1/23/2023




                                                 408                                   Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 11                              1/7/2023




                                                 409                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 08A                             1/29/2023




                                                  410                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06A                              1/1/2023




                                                  411                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06A                             1/18/2023




                                                  412                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 08A                             1/22/2023




 08A                             1/13/2023




                                                  413                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 03E                             2/23/2023




 03E                             2/20/2023




                                                  414                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 03E                             2/12/2023




                                                  415                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 03E                              2/3/2023




 03E                             02.07.2023




                                                  416                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 03E                             02.05.2023




  7                              02.21.2023




  9                              2/25/2023




                                                  417                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06A                             02.20.2023




 08A                             02.12.2023




                                                  418                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 08A                             02.13.2023




 08A                             2/12/2023




                                                  419                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06A                              2/4/2022




                                                  420                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06B                             2/17/2023




 11                              2/17/2023




 11                               2/9/2023




                                                  421                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              2/26/2023




  7                              2/26/2023




  7                              2/24/2023




                                                  422                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              2/21/2023




  7                              2/21/2023




  7                              2/20/2023




 08A                             2/18/2023




                                                  423                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location

 08A                             2/21/2023




 08A                             2/25/2023




 08A                             2/17/2023




                                                  424                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 08A                             2/18/2023




                                                  425                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 08A                             02.14.2023




                                                  426                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location


 08A                             02.14.2023




 08A                              2/7/2023




 08A                              2/5/2023




                                                  427                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 08A                              2/9/2023




 08A                              2/4/2023




  7                              2/13/2023




                                                  428                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  9                              2/17/2023




  7                               2/7/2023




  7                               2/7/2023



                                                  429                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location

  7                               2/6/2023




  4                              2/28/2023




  5                               2/3/2023




  4                              2/15/2023


  4                              2/15/2023




                                                  430                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  4                              2/14/2023




  5                               2/2/2023




                                                  431                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  5                               2/2/2023




                                                  432                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  5                               2/2/2023




                                                  433                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 11                               2/8/2023




                                                  434                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident              Location




 08A                             2/19/2023              In a moving vehicle




 08A                             2/19/2023              In a moving vehicle




                                                  435                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 03W                             02.27.2023




  7                               3/1/2023




                                                  436                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location



  7                               3/2/2023




  7                               3/2/2023




  7                               3/4/2023




  7                               3/4/2023




                                                  437                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06B                              3/6/2023




                                                  438                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06B                              3/6/2023




                                                  439                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                               3/6/2023




  7                              3/12/2023




                                                  440                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              3/13/2023




 08A                             03.06.2023




  7                              3/14/2023




                                                  441                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              3/14/2023




  7                              3/14/2023




 06A                              3/5/2023




                                                  442                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06A                             3/16/2023




 08A                              3/5/2023




 08A                              3/8/2023




                                                  443                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 08A                             3/25/2023




                                                  444                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 08A                              3/4/2023




 08A                             3/27/2023




 08A                             3/25/2023




                                                  445                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location


  4                              3/13/2023




  4                              3/18/2023




                                                  446                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 11                              3/23/2023




                                                  447                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 03E                             3/31/2023




  7                              3/24/2023




                                                  448                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              3/17/2023




  7                              3/17/2023
  7                              3/17/2023
  7                              3/17/2023



                                                  449                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 03E                             3/30/2023




                                                  450                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 03E                             3/16/2023




                                                                                        Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              03.22.2023




  7                              3/24/2023




                                                  452                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  9                              3/21/2023




 03E                             3/20/2023




                                                  453                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06B                             3/24/2023




 03E                             3/13/2023




 08A                             3/19/2023




                                                  454                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              3/13/2023




                                                  455                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              3/21/2023




  7                              3/10/2023




  7                              3/27/2023




                                                  456                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              3/27/2023




  7                              3/24/2023




 03W                             3/23/2023




                                                  457                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 03E                             3/15/2023




                                                  458                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              3/25/2023




  7                              3/25/2023




                                                  459                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              3/14/2023




  7                              3/14/2023




                                                  460                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location



 03E                             3/11/2023




                                                  L
  7                              3/13/2023




                                                  461                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06A                              3/5/2023




  7                               3/3/2023




  7                               3/1/2023




                                                  462                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06B                             3/31/2023




 03E                             03.03.2023




                                                  463                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location


  7                              3/14/2023




  7                              3/13/2023




  7                              3/15/2023




                                                  464                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              3/15/2023




  7                              3/18/2023




  7                              3/19/2023




                                                  465                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06A                             3/15/2023




                                                  466                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident                Location




 03E                             3/17/2023              Ellis County Courthouse




                                                  467                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 03E                             3/12/2023




                                                  468                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              3/29/2023




  7                              03.25.2023




  7                              3/18/2023




                                                  469                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              3/26/2023




  7                              3/26/2023




  7                              3/25/2023




                                                  470                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                               3/9/2023




  7                              4/25/2023




  7                              4/16/2023




  7                              4/28/2023




  7                              4/28/2023




                                                  471                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              4/26/2023




  7                              4/26/2023

  7                              4/26/2023


 06A                             4/28/2023




                                                  472                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                                              t
 03E                             4/10/2023




 03E                             4/23/2023




                                                  473                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  9                              4/25/2023




 10                              4/25/2023



  9                              4/24/2023




 08A                             4/23/2023




                                                  474                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              4/27/2023




  7                              4/27/2023

  7                              4/27/2023


                                                  475                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              4/15/2023




  7                              4/15/2023




                                                  476                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 03E                             4/11/2023




                                                  477                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              4/12/2023




                                                  478                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident                 Location




                                                  MOU The Farm 7401 Briarwood, Midland
  7                              4/21/2023
                                                               TX 79707




                                                  479                                    Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              4/26/2023




  7                              4/26/2023




                                                  480                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location

  7                              4/26/2023

  7                              4/26/2023



  7                              4/11/2023




  7                              4/19/2023




                                                  481                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  4                              4/28/2023




                                                  482                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                               4/8/2023




                                                  483                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                               4/8/2023




                                                  484                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              4/20/2023




  7                              4/22/2023




                                                  485                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              4/21/2023




  7                              4/20/2023




                                                  486                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06A                              4/4/2023




                                                  487                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                               4/3/2023




  7                               4/3/2023




  7                               4/3/2023




                                                  488                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                               4/3/2023




                                                  489                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 08A                             4/18/2023




                                                  490                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 08A                             4/14/2023




 10                              4/14/2023




  9                               4/8/2023




 06B                              4/5/2023




                                                  491                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              4/23/2023




  7                              4/23/2023




                                                  492                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  4                               4/8/2023




 11                               4/4/2023




                                                  493                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 03E                              4/1/2023




                                                  494                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 08A                              4/3/2023




 08A                              4/3/2023




                                                  495                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 08A                             4/18/2023




  7                              4/15/2023




  7                               4/8/2023




                                                  496                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location



  7                               4/8/2023




 08A                             4/11/2023




  7                              4/10/2023




                                                  497                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 08A                             4/16/2023




  7                               4/4/2023




                                                  498                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06A                              4/8/2023




                                                  499                                   Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06B                            4/30/2023




  7                              4/5/2023




                                                 500                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            4/19/2023




                                                 501                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            4/23/2023




 08A                            4/28/2023




 08A                            4/29/2023




 08A                            4/30/2023




                                                 502                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location


 08A                             5/6/2023




 06B                             5/5/2023




                                                 503                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            5/11/2023




                                                 504                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                             5/9/2023




                                                 505                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06B                            5/13/2023




 06B                            5/13/2023




                                                 506                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 11                             5/11/2023




 06A                             5/8/2023




 03E                            5/15/2023




                                                 507                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             5/19/2023




  7                             5/21/2023




 06B                            5/21/2023




                                                 508                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06B                            5/19/2023




                                5/22/2023




  4                             5/23/2023


  4                             5/22/2023




                                                 509                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  5                             5/23/2023




  5                             5/23/2023




                                                 510                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06B                            5/23/2023




                                                 511                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06B                            5/21/2023




  7                             5/24/2023




                                                 512                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location


  7                             5/23/2023




  7                             5/22/2023




                                                 L
  9                              5/1/2023




 08A                            5/16/2023




 08A                             5/4/2023




                                                 513                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06B                            5/24/2023




                                                 514                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                              5/5/2023




  7                              5/5/2023




                                                 515                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location

  7                              5/5/2023




  4                              5/5/2023




  7                             5/21/2023




                                                 516                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             5/13/2023




  7                             5/11/2023




  7                             5/28/2023




                                                 518                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             5/28/2023




  7                             5/30/2023




                                                 519                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             5/25/2023




  7                             5/25/2023




                                                 520                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            5/18/2023




  4                             5/24/2023




                                                 521                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location

  4                             5/24/2023




  7                             5/28/2023




 8A                             5/17/2023




 8A                             5/18/2023




 8A                             5/25/2023




  7                             5/23/2023




                                                 522                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location

  7                             5/29/2023




  7                             5/18/2023




  4                             5/29/2023




 08A                            5/24/2023




 08A                            5/27/2023




                                                 523                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location

 08A                            5/26/2023




 08A                            5/24/2023




 08A                            5/24/2023


 08A                            5/27/2023




  9                             5/29/2023




                                                 524                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 11                             5/31/2023




 08A                            5/16/2023




  9                             5/31/2023




                                                 525                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            5/25/2023




  7                             5/21/2023




                                                 526                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                              6/3/2023




  4                              6/4/2023




  5                              6/6/2023




 08A                             6/2/2023




  4                              6/7/2023




                                                 527                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                              6/6/2023




                                                 528                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                              6/7/2023




  7                              6/7/2023




                                                 529                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06A                             6/9/2023




                                                 530                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                             6/4/2023




                                                 531                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                              6/1/2023




 03W                             6/5/2023




                                                 532                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                             6/4/2023




                                                 533                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             6/10/2023




  7                             6/10/2023
 08A                            6/10/2023




                                                 534                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  4                             6/11/2023




  4                             6/11/2023




                                                 535                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  4                              6/9/2023




  4                              6/9/2023



  4                             6/23/2023




  4                             6/24/2023


  4                             6/24/2023




                                                 536                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  4                             6/25/2023




  5                              6/6/2023




  4                             6/27/2023




                                                 537                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  4                             6/27/2023




  4                             6/25/2023




  4                             6/25/2023




                                                 538                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            6/11/2023




                                                 539                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06A                            6/25/2023




 08A                            6/13/2023




                                                 540                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location


 08A                            6/15/2023




 08A                            6/14/2023



 08A                             6/5/2023




  5                              6/9/2023




 06A                            6/27/2023




                                                 541                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                             6/1/2023




 11                             6/25/2023




  7                             6/25/2023




                                                 542                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location


  7                             6/26/2023




  7                             6/26/2023




  7                             6/26/2023




                                                 543                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06B                            6/23/2023




                                                 544                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 11                             6/25/2023




                                                 545                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                             6/4/2023




                                                 546                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  4                             6/29/2023




  4                             6/28/2023




  4                             6/28/2023




                                                 547                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location

  4                             6/26/2023




  5                             6/29/2023




 08A                            6/19/2023


 08A                            6/21/2023

 08A                            6/16/2023

 08A                            6/20/2023




                                                 548                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  9                             6/21/2023




  4                             6/26/2023




                                                 549                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 11                             6/11/2023




 11                             6/11/2023




                                                 550                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location

 11                             6/11/2023




 03E                            6/29/2023




                                                 551                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            6/18/2023




                                                 552                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            6/11/2023




 06B                            6/24/2023




                                                 553                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             6/29/2023




 03E                            6/27/2023




                                                 554                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            6/23/2023




                                                 555                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  4                             6/30/2023




  4                             6/30/2023




 03E                            6/25/2023




 08A                            6/21/2023




 08A                            6/26/2023



                                                 556                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location


  9                             6/29/2023




                                                 557                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                              7/1/2023




  7                              7/1/2023




                                                 558                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location



  7                              7/1/2023




 08A                            07.01.2023




                                                 559                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  4                             07.04.2023




  4                             07.04.2023



 08A                             7/2/2023




                                                 560                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location


 08A                            7/24/2023




 10                             7/23/2023



 08A                            7/11/2023




 03E                            7/12/2023




                                                 561                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            7/11/2023




 11                             7/11/2023




                                                 562                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06A                             7/3/2023




 06A                            7/10/2023




                                                 563                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             7/14/2023




  7                             7/14/2023




                                                 564                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location

  7                             7/14/2023

  7                             7/14/2023

  7                             7/14/2023


  9                              7/7/2023




  5                             7/22/2023




 03E                            7/27/2023




  7                             7/23/2023




                                                 565                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  4                             7/25/2023




 03E                            7/19/2023




                                                 566                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  9                             7/11/2023




  9                             7/11/2023




                                                 567                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            7/19/2023




 08A                            7/17/2023




                                                 568                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                             7/9/2023




                                                 569                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             7/19/2023




  7                             7/19/2023

  7                             7/19/2023




                                                 570                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  4                             7/11/2023




  4                             7/11/2023




 03E                            7/13/2023




                                                 571                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  4                             7/29/2023




 08A                            7/24/2023




  4                              7/9/2023




  4                             7/27/2023




                                                 572                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location


  7                             7/27/2023




  7                             7/26/2023




                                                 573                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             7/24/2023




                                                 574                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             7/24/2023




  7                             7/24/2023




  4                             7/23/2023




                                                 575                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            7/31/2023




 03E                            7/20/2023




                                                 576                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             7/31/2023




  7                             7/31/2023




 08A                             7/3/2023




 08A                             7/3/2023



                                                 577                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06A                            7/30/2023




  7                             7/10/2023




  7                             7/10/2023



                                                 578                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            7/28/2023




                                                 579                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 11                             7/27/2023




 03E                            8/30/2023




                                                 580                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location


  7                             8/24/2023



  7                             8/24/2023




  7                             8/24/2023




  7                             8/24/2023

  7                             8/24/2023




  6                             8/24/2023




                                                 581                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  3                             8/23/2023




  6                             8/23/2023




  3                              8/3/2023




 11                             8/21/2023




                                                 582                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  8                              8/9/2023




  8                              8/9/2023


  3                             8/16/2023




  3                             8/14/2023




                                                 583                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location



  3                              8/2/2023




  6                             8/14/2023




  4                              8/7/2023




                                                 584                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location


  8                             8/13/2023




  8                              8/9/2023




                                                 585                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  4                              8/1/2023




  4                              8/1/2023




                                                 586                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                              8/6/2023




  8                              8/1/2023




  8                             8/13/2023




                                                 587                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  8                             8/13/2023




  8                             8/13/2023



  8                             8/13/2023



  8                             8/29/2023




  8                             8/28/2023




  8                             8/14/2023




                                                 588                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  8                              8/5/2023




 03E                             9/4/2023




 08A                             9/1/2023




  9                              9/4/2023




 03E                            9/16/2023




                                                 589                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location

 10                              9/6/2023


  9                              9/8/2023




  9                             9/10/2023




                                                 590                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06A                            9/13/2023




 11                             9/17/2023




                                                 591                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location


  5                             9/20/2023




 08A                            9/10/2023



  7                             9/20/2023



  7                             9/20/2023




  7                             9/22/2023




  7                             9/21/2023




                                                 592                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            9/17/2023




 03E                            9/22/2023




  3                             9/24/2023




                                                 593                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location


 03E                            9/21/2023




                                                 594                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            9/14/2023




 10                             9/12/2023




                                                 595                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  5                             9/23/2023




 03E                            9/18/2023




 03E                            9/18/2023




                                                 596                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             9/27/2023




  7                             9/25/2023




                                                 597                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             9/29/2023




  7                             9/29/2023

  7                             9/29/2023




 08A                            9/20/2023




                                                 598                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  4                             9/29/2023




 03E                             9/1/2023




  7                             9/27/2023




                                                 599                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                              9/8/2023




  7                              9/8/2023




                                                 600                                    Dec 2022 - Nov 2023
